                 UNITED STATES DISTRICT COURT
                  DISTRICT OF MASSACHUSETTS




ESTADOS UNIDOS MEXICANOS,
               Plaintiff,

          vs.

SMITH & WESSON BRANDS,
INC.; BARRETT FIREARMS
MANUFACTURING, INC.;
BERETTA U.S.A. CORP.; CENTURY      C.A. NO: 1:21-CV-11269-FDS
INTERNATIONAL ARMS, INC.;
COLT’S MANUFACTURING COMPANY
LLC; GLOCK, INC.; STURM, RUGER &
CO., INC.; WITMER PUBLIC SAFETY
GROUP, INC. D/B/A INTERSTATE
ARMS,
                   Defendants.




 DECLARATION OF NICHOLAS W. SHADOWEN IN SUPPORT OF PLAINTIFF’S
   RESPONSES IN OPPOSITION TO DEFENDANTS’ MOTIONS TO DISMISS
       I, Nicholas W. Shadowen, respectfully submit this declaration and declare as follows:

       I am an active member in good standing of the bar of the Supreme Court of Texas and am

admitted pro hac vice in this matter. I am a lawyer in the firm of Shadowen PLLC, and I am over

21 years of age and am not a party to this action. I make this declaration based on my own

personal knowledge. If called upon to testify, I could and would testify competently to the truth

of the matters stated herein.

       I submit this declaration in support of Plaintiff’s Responses in Opposition to Defendants’

Motions to Dismiss the Complaint.

       1.        Attached hereto as Exhibit 1 is a true and correct copy of the Expert Report of

Lucy P. Allen.

       2.        Attached hereto as Exhibit 2 is a true and correct copy of Plaintiff’s First Expert

Report on Tort Law of Mexico.



                                  Barrett Firearms Manufacturing, Inc.

       3.        I attach the following documents referenced in Plaintiff’s Memorandum of Law in

Opposition to the Motion to Dismiss of Defendant Barrett Firearms Manufacturing, Inc.

(“Barrett”):

                 a. Exhibit 3 is a true and correct copy of a screenshot taken from Barrett’s
                    webpage as of the week of January 24, 2022, found at
                    https://barrett.net/purchase/united-states-retailer-map-and-dealer-list/,
                    showing that Barrett has an authorized firearm dealer, namely Natick Outdoor
                    Store, in Natick, Massachusetts.

                 b. Exhibit 4 is a true and correct copy of a screenshot taken from The Gun
                    Parlor’s webpage as of the week of January 24, 2022, found at
                    https://www.thegunparlor.com/products/rifles-barrett-14032-816715012548-
                    816715012548-3873, showing that The Gun Parlor sells Barrett firearms from
                    The Gun Parlor’s store in Worcester, Massachusetts.




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              c. Exhibit 5 is a true and correct copy of a screenshot taken from Barrett’s
                 webpage as of the week of January 24, 2022, found at
                 https://barrett.net/purchase/united-states-retailer-map-and-dealer-list/,
                 showing that Barrett has authorized firearms dealers throughout the United
                 States.

              d. Exhibit 6 is a true and correct copy of a screenshot of a December 2, 2020
                 Barrett Facebook post, available at https://www.facebook.com/barrettfirearms,
                 showing nationwide advertising touting that the Barrett MRAD SMR, or
                 Single Mission Rifle, “transforms the military platform to fit civilian precision
                 shooters.”

              e. Exhibit 7 is a true and correct copy of a screenshot of a Barrett advertisement
                 taken from the website of Brian Donnenwirth as of the week of January 24,
                 2022, depicting an ad from the Barrett Elements Campaign, available at
                 https://www.bdcreative.com/work/barrett, depicting the Barrett MRAD with
                 the caption “We’ve Created a Monster.” The ad further states that “the Barrett
                 MRAD is a real monster in every sense,” and refers to the weapon as “scary
                 good.”

              f. Exhibit 8 is a true and correct copy of a computer printout of Barrett’s
                 webpage as of the week of January 24, 2022, found at
                 https://store.barrett.net/t-shipping.aspx, reflecting that Barrett makes specific
                 disclosures in order to be able to sell to Massachusetts customers.



                                     Beretta U.S.A. Corp.

       4.     I attach the following documents referenced in Plaintiff’s Memorandum of Law in

Opposition to the Motion to Dismiss of Defendant Beretta U.S.A Corp. (“Beretta”):

              a.     Exhibit 9 is a true and correct copy of a computer printout taken from
                     Beretta’s webpage as of the week of November 8, 2021, found at
                     https://www.beretta.com/en-us/dealer-
                     locations/?F_City=Natick&F_State=MA&F_Proximity=100&F_Type=0&
                     F_Lng=-71.3468091&F_Lat=42.2775281&F_All=Y, showing that Beretta
                     has more than a dozen authorized firearm dealers in Massachusetts.

              b.     Exhibit 10 is a true and correct copy of a screenshot of Beretta’s webpage
                     as of the week of January 24, 2022, found at https://www.beretta.com/en-
                     us/dealer-
                     locations/?F_City=Natick&F_State=MA&F_Proximity=100&F_Type=0&
                     F_Lng=-71.3468091&F_Lat=42.2775281&F_All=Y, showing that Beretta
                     has authorized firearm dealers throughout the United States.



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               c.      Exhibit 11 is a true and correct copy of a screenshot of Interstate Arms
                       Corp.’s webpage as of the week of January 24, 2022, found at
                       https://www.interstatearms.com/store/brands.aspx, showing that it is a
                       wholesaler for Beretta’s firearms.

               d.      Exhibit 12 is a true and correct copy of a screenshot taken from Beretta’s
                       webpage as of the week of January 24, 2022, available at
                       https://www.beretta.com/en-us/arx-100/, referencing the “tactical” nature
                       of a firearm that Beretta sells in the civilian market.

               e.      Exhibit 13 is a true and correct copy of a screenshot taken from Beretta’s
                       webpage as of the week of January 24, 2022, available at
                       https://www.beretta.com/en-us/arx160/, referencing the “tactical” nature
                       of a civilian firearm.

               f.      Exhibit 14 is a true and correct copy of a screenshot taken from Beretta’s
                       webpage as of the week of January 24, 2022, available at
                       https://www.beretta.com/en-us/firearms/finder/?ds=Rifle, associating its
                       firearms with military popularity.

       5.      Below are the captions of some cases in which Beretta has appeared, as either a

plaintiff or defendant, in a court in Massachusetts:

               a. Mandell et al v. Beretta USA Corp et al., No. 9181CV08373 (Middlesex
                  County);

               b. Beretta USA Corp. v. Fox Distributors Inc., No. 1782CV00671 (Norfolk
                  County);

               c. Boston, et al. v. Smith & Wesson Corp., et al., No. 9984CV02590 (Middlesex
                  County);

               d. City of Boston v. Smith & Wesson Corp., et al., No. Civ.A.99-11511-REK (D.
                  Mass.).



                                Century International Arms, Inc.

       6.      I attach the following documents referenced in Plaintiff’s Memorandum of Law in

Opposition to the Motion to Dismiss of Defendant Century International Arms, Inc. (“Century”):

               a.      Exhibit 15 is a true and correct copy of a screenshot taken from Century’s
                       webpage as of the week of January 24, 2021, found at
                       https://www.centuryarms.com/storelocator, showing that Century has an



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                    authorized firearm dealer, namely GFA ArmsTec, in Natick,
                    Massachusetts.

             b.     Exhibit 16 is a true and correct copy of a computer printout taken from
                    The Gun Parlor’s webpage as of the week of November 8, 2021, found at
                    https://www.thegunparlor.com/brands/century, showing that a firearm
                    dealer, namely The Gun Parlor, sells Century firearms from The Gun
                    Parlor’s store in Worcester Massachusetts.

             c.     Exhibit 17 is a true and correct copy of a screenshot taken from Century’s
                    webpage as of the week of January 24, 2022, found at
                    https://www.centuryarms.com/storelocator, showing that Century has
                    authorized firearm dealers throughout the United States.

             d.     Exhibit 18 is a true and correct copy of a screenshot taken from Camfour,
                    Inc.’s webpage as of the week of January 24, 2022, found at
                    https://www.ezgun.net/manufacturers/c/century-arms.html, showing that it
                    is a wholesaler for Century’s firearms.

             e.     Exhibit 19 is a true and correct copy of a screenshot of an April 5, 2021
                    Century Arms Facebook post, available at
                    https://www.facebook.com/centuryarms/photos/a.2771089656322071/378
                    3841418380218/, advertising and depicting an assault rifle with the
                    caption “Eat more ammo!”

             f.     Exhibit 20 is a true and correct copy of a screenshot of a July 16, 2020
                    Century Arms Facebook post, available at
                    https://www.facebook.com/centuryarms/photos/3020045881426446,
                    advertising and depicting an assault rifle with the caption “Onwards
                    towards victory!”

       7.    As shown in Exhibit 11, supra, Interstate Arms is a wholesaler for Century’s

firearms.

       8.    Below is the caption of a case in which Century appeared in a court in

Massachusetts:

             a.     Lexington Insurance Company v. Century International Arms, Inc. et al.,
                    No. 0181CV00530 (Middlesex County).



                          Colt’s Manufacturing Company LLC




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       9.      I attach the following documents referenced in Plaintiff’s Memorandum of Law in

Opposition to the Motion to Dismiss of Defendant Colt’s Manufacturing Company LLC

(“Colt”):

               a.      Exhibit 21 is a true and correct copy of a screenshot taken from Colt’s
                       webpage as of the week of January 31, 2022, found at
                       https://colt.com/dealer-locator, showing that Colt has approximately 35
                       authorized firearm dealers in Massachusetts.

               b.      Exhibit 22 is a true and correct copy of a screenshot taken from Colt’s
                       webpage as of the week of January 24, 2022, found at
                       https://colt.com/dealer-locator, showing that Colt has authorized firearm
                       dealers throughout the United States.

               c.      Exhibit 23 is a true and correct copy of a screenshot depicting an
                       advertisement for Colt’s AR-15A2, available at
                       https://twitter.com/kwh561/status/1159071786547519488, pitching the
                       similarity of Colt’s AR-15 to military weaponry, claiming, “Colt’s M16A2
                       and AR-15A2. So close, even Colt’s inspectors look twice. What does that
                       tell you?”

               d.      Exhibit 24 is a true and correct copy of a screenshot depicting an
                       advertisement for Colt’s AR-15, available at
                       https://thecoltar15resource.com/2020/05/22/the-colt-ar-15-performance-is-
                       proof/, stating that “Millions of American soldiers and our allies have
                       liked it, and so will you.”

               e.      Exhibit 25 is a true and correct copy of a screenshot from Colt’s webpage
                       as of the Week of January 24, 2022, available at
                       https://www.colt.com/series/M4_CARBINE_SERIES, labeling its civilian
                       assault rifle “Trooper.”

               f.      Exhibit 26 is a true and correct copy of a screenshot from Colt’s webpage
                       as of the week of January 24, 2022, available at
                       https://www.colt.com/detail-page/colt-le6920-carbine-223556-161-301-
                       pmag-mbus-4-pos-stk-blk, marketing its Colt M4 Carbine as “shar[ing]
                       many features of its combat-proven brother, the Colt M4.”

       10.     As shown in Exhibit 11, supra, Interstate Arms is a wholesaler for Colt’s

firearms.

       11.     Below are the captions of some cases in which Colt has appeared, as either a

plaintiff or defendant, in a court in Massachusetts:


                                                 5
              a.     Bolduc (Adm'x) v. Colt's Mfg Co Inc., No. 9581CV06736 (Middlesex
                     County);

              b.     Boston et al. v. Smith & Wesson Corp et al., No. 9984CV02590
                     (Middlesex County);

              c.     City of Boston v. Smith & Wesson Corp., et al., No. Civ.A.99-11511-REK
                     (D. Mass.);

              d.     Bolduc v. Colt’s Mfg. Co., Inc., No. 95-12716-GAO (D. Mass.).



                                         Glock, Inc.

       12.    I attach the following documents referenced in Plaintiff’s Memorandum of Law in

Opposition to the Motion to Dismiss of Defendant Glock, Inc. (“Glock”):

              a.     Exhibit 27 is a true and correct copy of a screenshot taken from Glock’s
                     webpage as of November 8, 2021, found at
                     https://us.glock.com/en/Dealer-Locator-USA, showing that Glock has
                     more than a dozen authorized firearm dealers in Massachusetts.

              b.     Exhibit 28 is a true and correct copy of a screenshot taken from Glock’s
                     webpage as of the week of January 24, 2022, found at
                     https://us.glock.com/en/Dealer-Locator-USA, showing that Glock has
                     authorized firearm dealers throughout the United States.

              c.     Exhibit 29 is a true and correct copy of In re Civil Investigative Demand,
                     2016 WL 7742940 (Mass. Super. Oct. 28, 2016), referencing an affidavit
                     submitted on behalf of the Attorney General of Massachusetts in Suffolk
                     County Superior Court indicating that there were approximately 10,800
                     Glock handgun sales in Massachusetts between January 1, 2014 and
                     August 13, 2015.

              d.     Exhibit 30 is a true and correct copy of a screenshot taken from Camfour,
                     Inc.’s webpage as of the week of January 24, 2022, found at
                     https://www.ezgun.net/manufacturers/g/glock.html, showing that it is a
                     wholesaler for Glock’s firearms.

              e.     Exhibit 31 is a true and correct copy of a screenshot taken from Glock’s
                     webpage, as of the week of January 24, 2022, available at
                     https://us.glock.com/en/pistols/g17, touting its Glock 17 as “trusted by law
                     enforcement officers and military personnel around the globe.”

              f.     Exhibit 32 is a true and correct copy of a computer printout of an April
                     10, 2019 press release taken from Glock’s webpage as of the week of


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                       January 24, 2022, available at https://us.glock.com/en/press-release/news-
                       page/glock-is-awarded-contract-for-us-customs-and-border-protection,
                       touting Glock pistols as “a favorite of military and law enforcement
                       agencies worldwide and among pistol owners.”

               g.      Exhibit 33 is a true and correct copy of a June 2011 report by the
                       Violence Policy Center entitled “The Militarization of the U.S. Civilian
                       Firearms Market,” available at
                       https://www.vpc.org/studies/militarization.pdf, quoting Gaston Glock’s
                       statement to Advertising Age in June 1995 in which he indicated, “In
                       marketing terms, we assumed that, by pursuing the law enforcement
                       market, we would then receive the benefits of ‘after sales’ in the
                       commercial market.”

               h.      Exhibit 34 is a true and correct copy of a screenshot taken from the
                       webpage for the Secretary of the Commonwealth of Massachusetts as of
                       the week of January 24, 2022, available at
                       https://www.sec.state.ma.us/index.htm, showing that Glock has been
                       registered with the Secretary of State for the Commonwealth of
                       Massachusetts since November 19, 1991 to transact business in the state.

               i.      Exhibit 35 is a true and correct copy of the 2021 Massachusetts Annual
                       Report that Glock filed with the Secretary of the Commonwealth of
                       Massachusetts.

       13.     As shown in Exhibit 11, supra, Interstate Arms is a wholesaler for Glock’s

firearms.

       14.     Below are the captions of some cases in which Glock has appeared, as either a

plaintiff or defendant, in a court in Massachusetts:

               a.      Elizabeth Ryan, Administratrix of the Estate of Charles D. Milov v.
                       Patricia A. Hughes-Ortiz, Exectutrix of the Estate of Thomas Hughes, et
                       al., v. Glock, Inc., No. 0381CV04436 (Middlesex County);

               b.      American Shooting Sports Council, et al. v. Harshbarger, Atty General,
                       No. 9884CV00203 (Middlesex County);

               c.      Boston, et al. v. Smith & Wesson Corp., et al., No. 9984CV02590
                       (Middlesex County);

               d.      Glock Inc. v. Commonwealth of Massachusetts Office of the Attorney
                       General, No. 1684CV02098 (Middlesex County);

               e.     Tate v. Glock Inc., No. 9484CV00776 (Middlesex County);



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              f.    City of Boston v. Smith & Wesson Corp., et al., No. Civ.A.99-11511-REK
                    (D. Mass.);

              g.    Wasylow v. Glock, Inc., No. 94-11073-DPW (D. Mass.).



                              Sturm, Ruger & Company, Inc.

       15.    I attach the following documents referenced in Plaintiff’s Memorandum of Law in

Opposition to the Motion to Dismiss of Defendant Sturm, Ruger & Company, Inc. (“Ruger”):

              a.     Exhibit 36 is a true and correct copy of a screenshot taken from Ruger’s
                     webpage as of the week of November 8, 2021, found at
                     https://ruger.com/dataProcess/retailerLocator/, showing that Ruger has
                     more than 40 authorized firearm dealers in Massachusetts;

              b.     Exhibit 37 is a true and correct copy of Ruger’s Securities and Exchange
                     Commission Form 10K for the period ending December 31, 2020.

                    i.      Page 6 of the report states that “[t]he Company’s firearms are
                            primarily marketed through a network of federally licensed,
                            independent wholesale distributors who purchase the products
                            directly from the Company. They resell to federally licensed,
                            independent retail firearms dealers who in turn resell to legally
                            authorized end users.”

                   ii.      Page 13 of the report states that “[o]ver 90% of [Ruger’s] sales are
                            made to 14 federally licensed, independent wholesale distributors.”

              c.     Exhibit 38 is a true and correct copy of a screenshot taken from Camfour,
                     Inc.’s webpage as of the week of January 24, 2022, found at
                     https://www.ezgun.net/manufacturers/r/ruger.html, showing that it is a
                     wholesaler for Ruger’s firearms;

              d.     Exhibit 39 is a true and correct copy of a computer printout of a Ruger
                     advertisement for its AR-556, as depicted on the website
                     thetruthaboutguns.com in a product review, as of the week of January 24,
                     2022, available at https://www.thetruthaboutguns.com/ruger-announces-
                     ar-556-modern-sporting-rifle/, highlighting the rifle’s ability to accept a
                     high-capacity magazine;

              e.     Exhibit 40 is a true and correct copy of a computer printout of a Ruger
                     advertisement for its SR-556, as depicted on the website
                     defensereview.com, as of the week of January 24, 2022, available at
                     https://defensereview.com/ruger-sr-556-gas-pistonop-rod-ar-15-carbine-


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                       ruger-enters-the-piston-driven-ar-fray/, highlighting the included high-
                       capacity 30-round magazine.

               f.      Exhibit 41 is a true and correct copy of a computer printout from Ruger’s
                       webpage as of January 24, 2022, available at
                       https://ruger.com/search/state_ma/revolver, showing that Ruger altered its
                       weapons to comply with Massachusetts General Law Chapter 140 §§ 121-
                       131Q in order to sell its guns in the state.

               g.      Exhibit 42 is a true and correct copy of a computer printout from Ruger’s
                       webpage as of January 24, 2022, available at
                       https://ruger.com/search/state_ma/pistol, showing that Ruger altered its
                       weapons to comply with Massachusetts General Law Chapter 140 §§ 121-
                       131Q in order to sell its guns in the state of Massachusetts.

       16.     As shown in Exhibit 11, supra, Interstate Arms is a wholesaler for Ruger’s

firearms.

       17.     Below are the captions of some cases in which Ruger has appeared, as either a

plaintiff or defendant, in a court in Massachusetts:

               a.       Sturm Ruger & Company Inc. v. Haines, No. 8179CV00922 (Hampden
                        County);

               b.      Caetano Carlos v. Sturm Ruger & Company Inc., No. 9079CV00786
                       (Hampden County);

               c.      Whitman Gregory v. Sturm Ruger & Company Inc., No. 9579CV00387
                       (Hampden County);

               d.      Voudren Shane, et al. v. Sturm Ruger & Co Inc., No. 8378CV15365
                       (Franklin County);

               e.      American Shooting Sports Council, et al. v. Harshbarger, Atty General,
                       No 9884CV00203 (Middlesex County);

               f.      Boston et al. v. Smith & Wesson Corp., et al., No. 9984CV02590
                       (Middlesex County);

               g.      City of Boston v. Smith & Wesson Corp., et al., No. Civ.A.99-11511-REK
                       (D. Mass.).



                                      Interstate Arms Corp.


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       18.    I attach the following documents referenced in Plaintiff’s memoranda of law in

opposition to Defendants’ motions to dismiss:

              a.      Exhibit 43 is a true and correct copy of a computer printout from
                      Interstate Arms’ “About Us” webpage as of the week of January 24, 2022,
                      available at https://www.interstatearms.com/page.aspx/contentid/528,
                      stating that “Interstate Arms is a 40+ year-old wholesale distributor
                      supplying licensed firearm dealers nationwide with firearms and related
                      products.”

              b.      Exhibit 44 is a true and correct copy of a computer printout from the
                      AmmoTerra webpage as of the week of January 24, 2022, available at
                      https://ammoterra.com/company/interstate-arms-corp, in which Interstate
                      Arms describes itself as a seller of, among other things, “military-style
                      weapons.”

              c.      Exhibit 45 is a true and correct copy of a screenshot from the webpage of
                      the Secretary of the Commonwealth of Massachusetts as of the week of
                      January 24, 2022, available at https://www.sec.state.ma.us/index.htm,
                      showing that Interstate Arms Corp. was a domestic corporation registered
                      in Massachusetts from November 1990 to December 2019.



                                 Camfour Inc. (“Camfour”)

       19.    I attach the following documents referenced in Plaintiff’s memoranda of law in

opposition to Defendants’ motions to dismiss:

              a.      Exhibit 46 is a true and correct copy of a computer printout taken from
                      Camfour, Inc’s “About Us” webpage as of the week of January 24, 2022,
                      found at https://www.ezgun.net/about-us, showing the following:

                     i.       Camfour was founded in Springfield, Massachusetts in 1952 and
                              moved to its present location in Westfield, Massachusetts in 1961;

                    ii.       Camfour’s focus eventually became “the shooting sport industry”
                              and, in 1976, it “phased out everything other than firearms and
                              related products;”

                    iii.      In 1984, Camfour “revolutionized the shooting sports industry
                              with the development of [its] online order software, PCGun.”
                              “This software, combined with state of the art (for the time)
                              hardware equipment, enabled independent shooting sports




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                              retailers to have instant access to a wealth of information,
                              inventory and the ability to order 24 hours a day, 7 days a week;”

                    iv.       “In 2003, Camfour acquired Hill Country Wholesale, just outside
                              of Austin, Texas. This acquisition established a southwest
                              distribution center and strengthened the company’s team and
                              ammunition segment;”

                     v.       “The company operates under the Camfour name with two
                              locations serving the entire United States;”

                    vi.       Camfour “continue[s] to grow by adding new brands and dealers
                              to consistently be ranked as one of the top 10 distributors in the
                              industry;” and

                   vii.       Camfour makes its internet sales through a website called
                              “EZGun.net.”

              b.      Exhibit 47 is a true and correct copy of a screenshot from the Gunners
                      Den website, as of the week of January 24, 2022, available at
                      https://gunnersden.com/gun-dealers-distributors/, showing the following
                      representation by Camfour: “Our national buying power allows us to sell
                      at low prices, while our multi-million dollar inventory assures you we will
                      have what you’re looking for in stock and ready to be shipped.”

              c.      Exhibit 48 is a true and correct copy of a computer printout from the
                      AmmoLand website as of the week of January 24, 2022, available at
                      https://www.ammoland.com/2018/03/dark-storm-industries-dsi-rifles-and-
                      accessories-now-distributed-by-camfour/#axzz7J6kAgwGa, referring to
                      Camfour as “one of the leading firearms distributors in the nation.”



                                    Guns in Massachusetts

       20.    I attach the following documents referenced in Plaintiff’s memoranda of law in

opposition to Defendants’ motions to dismiss:

              a.      Exhibit 49 is a true and correct copy of a March 25, 2018 article by Paige
                      Smith entitled “Gun makers thrive in Mass.” from the Telegram & Gazette
                      webpage, as of the week of January 24, 2022, available at
                      https://www.telegram.com/story/news/state/2018/03/25/gun-makers-
                      thriving-in-massachusetts-since-american-revolution/12899420007/,
                      indicating the following:




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      i.       Rick Sullivan, president of Economic Development Council of
               Western Massachusetts, referred to the weapons industry as the
               “backbone” of the region’s commerce;

     ii.       Firearms manufacturers have been in the region “since the time of
               the American Revolution;” and

     iii.      Massachusetts is ranked among the top 10 states for total
               economic output in dollars from the arms and ammunition
               industries in 2016, according to National Shooting Sports
               Foundation report.

b.     Exhibit 50 is a true and correct copy of an article entitled “New England’s
       Gun Valley, Child of the Springfield Armory,” found on the New England
       Historical Society’s webpage as of the week of January 24, 2022,
       available at https://www.newenglandhistoricalsociety.com/new-englands-
       gun-valley-child-of-the-springfield-armory/, indicating the following:

      i.       New England’s Gun Valley began with George Washington, who
               in 1777 scouted the site on an old Puritan muster ground in
               Springfield Mass. Washington was looking for a place to store
               weapons out of reach of the British Royal Navy;

     ii.       Companies like Colt, Remington and Smith & Wesson gave the
               region the nickname Gun Valley; and

     iii.      From 1796 to 1968, the Springfield Armory served as the U.S.
               Army’s main design and production workshop for small arms.

c.     Exhibit 51 is a true and correct copy of a March 9, 2019 article by
       Prashant Gopal entitled “One Town Makes and Hates Guns Like No Other
       Place in the U.S.” from Time Magazine’s webpage, available at
       https://time.com/5192841/springfield-massachusetts-gun-valley/,
       indicating the following:

      i.       Massachusetts is the “king of guns;” and

     ii.       “[b]y the latest federal tally, Massachusetts accounted for a
               quarter of the 11.9 million [guns] made each year, more than any
               other state, according to Small Arms Analytics, an industry
               research firm.”

d.     Exhibit 52 is a true and correct copy of a screenshot from FFL123.com as
       of the week of January 24, 2022, available at
       https://www.ffl123.com/how-to-get-ffl-in-
       massachusetts/#:~:text=As%20of%20June%202021%2C%20the,)%20bei
       ng%20rabidly%20anti%2Dgun, indicating that, as of June 2021, ATF
       reported a total of 3,973 federal firearm licensees in Massachusetts.


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               e.      Exhibit 53 is a true and correct copy of a screenshot from the Smith &
                       Wesson webpage as of the week of January 24, 2022, available at
                       https://www.smith-wesson.com/ourstory, indicating that Smith & Wesson
                       was formed in Massachusetts in 1852.

               f.      Exhibit 54 is a true and correct copy of a computer printout from the
                       Smith & Wesson webpage as of the week of January 24, 2022, available at
                       https://www.smith-wesson.com/international, indicating that Smith &
                       Wesson is one of the largest gun manufacturers in the country.



       UNREPORTED CASES AND OTHER SOURCES CITED IN PLAINTIFF’S
            MEMORANDA IN SUPPORT OF MOTIONS TO DISMISS.

       21.     I attach the following documents referenced in Plaintiff’s memoranda of law in

opposition to Defendants’ motions to dismiss:

               a.      Exhibit 55 is a true and correct copy of Fox v. L&J Supply, LLC, No.
                       2014-24619 (Pa. Ct. Cmmn. Pl. Nov. 26, 2018)

               b.      Exhibit 56 is a true and correct copy of Coxie v. Academy, Ltd., No. 2018-
                       CP-42-04297 (S.C. Ct. Cmmn. Pl. Jul. 29, 2019)

               c.      Exhibit 57 is a true and correct copy of Norberg v. Badger Guns, Inc.,
                       Case No. 10-cv-20655 (Wis. Cir. Ct. Jun. 9, 2011)

               d.      Exhibit 58 is a true and correct copy of Goldstein v. Earnest, No. 37-
                       2020-00016638-CU-PO-CTL (Ca. Super. Ct. Jul. 2, 2021)

       22.     I attach the following document referenced in Plaintiff’s memoranda of law in

support of its opposition to Defendants’ motions to dismiss:

               a. Exhibit 59 is a true and correct copy of Rule 82-8.



I declare under penalty of perjury that the foregoing is true and correct.

Executed this 31st day of January 2022, in Austin, Texas.

/s/ Nicholas W. Shadowen

Nicholas W. Shadowen



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                                 CERTIFICATE OF SERVICE

       I, Steve D. Shadowen, hereby certify that this document was filed with the Clerk of the

Court via CM/ECF. Those attorneys who are registered with the Court’s electronic filing

systems may access this filing through the Court’s CM/ECF system, and notice of this filing will

be sent to these parties by operation of the Court’s electronic filings system.



Dated: January 31, 2022                                       Respectfully Submitted,

                                                              /s/ Steve D. Shadowen
                                                              Steve D. Shadowen




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